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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

V.                                                                 2:20CR00124 JM

MICHAEL THOMPSON

                                           ORDER

       The United States has filed a motion to dismiss the information in this case. The Court

finds that the information should be, and hereby is, DISMISSED. The United States’ motion

(ECF No. 2) is GRANTED. The arrest warrant issued as to Mr. Thompson is recalled.

       IT IS SO ORDERED this 1st day October, 2020.



                                                    _________________________________
                                                    James M. Moody Jr.
                                                    United States District Judge
